

















IN THE COURT OF CRIMINAL APPEALS


OF TEXAS






NO. 74,779






EX PARTE JESSE MONROE, Applicant








ON APPLICATION FOR A WRIT OF HABEAS CORPUS


FROM CALDWELL COUNTY






	Per Curiam.



O P I N I O N




	This is a post-conviction application for writ of habeas corpus filed pursuant to the
provisions of Article 11.07, V.A.C.C.P.  Applicant was convicted of aggravated robbery and
burglary of a habitation and punishment was assessed at life in prison.  This conviction was
affirmed.  Monroe v. State, No. 03-99-00084-CR (Tex.App. - Austin, opinion delivered
November 9, 2000). 

	Applicant alleges that he was denied his right to petition this Court for discretionary
review of the Court of Appeals' opinion because he was not timely informed of the fact that
his conviction had been affirmed and of the right to file a pro se petition for discretionary
review.  Appellate counsel has no recollection of informing applicant of these facts, and his
file contains no evidence that applicant was notified.  The trial court finds that there is no
evidence that applicant was notified that his conviction had been affirmed or of the right to file
a pro se petition for discretionary review.  Applicant is entitled to relief.  Ex parte Wilson, 956
S.W.2d 25 (Tex.Crim.App. 1997).

	Accordingly, Applicant is granted leave to file an out-of-time petition for discretionary
review from the Court of Appeals' judgment in cause number 03-99-00084-CR affirming the
conviction in cause number 95-020 from the 22nd District Court of Caldwell County, Texas. 
The proper remedy in a case such as this is to allow Applicant to file his petition with the Court
of Appeals within thirty days of the issuance of this Court's mandate. 


DELIVERED: October 15, 2003	

DO NOT PUBLISH	


